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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Christopher Moehrl, et al.
                                                Plaintiff,
v.                                                            Case No.: 1:19−cv−01610
                                                              Honorable Andrea R. Wood
The National Association of Realtors, et al.
                                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 25, 2022:


        MINUTE entry before the Honorable Andrea R. Wood: Telephonic status hearing
held on 10/24/2022. For the reasons stated on the record, Defendants' motion for limited
extension of fact discovery deadline to accommodate already−served subpoenas [364] is
granted. Plaintiffs' motion for a protective order forbidding Defendants' untimely
Third−Party document requests and opposition to Defendants' motion to excuse their
violations of this Court's discovery orders [367] is granted in part and denied in part. The
Court extends the fact discovery deadline until 12/9/2022 to complete the outstanding
depositions subject to the parties' agreement as well as to obtain discovery from the six
third parties subject to Defendants' Rule 45 subpoenas. By 11/7/2022, Plaintiffs shall file a
response to Defendants' joint motion for evidentiary hearing on Defendants' motion to
exclude expert testimony of Elhauge and Economides [374]. No reply will be considered
unless specifically requested by the Court. By 12/14/2022, the parties shall file a joint
status report confirming all fact discovery has been completed. The Court sets the
following expert discovery schedule: Plaintiffs shall serve their expert reports by
3/23/2023. Defendants shall serve their expert reports and rebuttal expert reports by
5/25/2023. Plaintiffs shall serve their rebuttal expert reports by 7/27/2023. All expert
discovery shall be completed by 8/24/2023. Dispositive motions and any Daubert motions
shall be due by 10/19/2023. The Court will issue a separate order detailing the dispositive
motion and Daubert motion briefing schedule. Telephonic status hearing set for
12/21/2022 at 11:00 AM. To ensure public access to court proceedings, members of the
public and media may call in to listen to telephonic hearings. The call−in number is (888)
557−8511 and the access code is 3547847. Counsel of record will receive an email 30
minutes prior to the start of the telephonic hearing with instructions to join the call.
Persons granted remote access to proceedings are reminded of the general prohibition
against photographing, recording, and rebroadcasting of court proceedings. Violation of
these prohibitions may result in sanctions, including removal of court−issued media
credentials, restricted entry to future hearings, denial of entry to future hearings, or any
other sanctions deemed necessary by the Court. Mailed notice (lma, )
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